            Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 1 of 27 Page ID #:408


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          10
          11                          UNITED STATES DISTRICT COURT
          12                         CENTRAL DISTRICT OF CALIFORNIA
          13                                    WESTERN DIVISION
          14     ALLERGAN, INC. and ALLERGAN              CASE NO. 2:16−cv−08403 CBM (SSx)
                 USA, INC.,
          15                                              PLAINTIFFS ALLERGAN, INC. AND
                                  Plaintiffs,             ALLERGAN USA, INC.’S NOTICE OF
          16                                              MOTION AND MOTION FOR
                      v.                                  DEFAULT JUDGMENT AND
          17                                              PERMANENT INJUNCTION;
                 AMAZON MEDICA and DOES 1-10,             MEMORANDUM OF POINTS AND
          18                                              AUTHORITIES IN SUPPORT
                                  Defendants.             THEREOF
          19
                                                          [Declaration of Jared Greenberg and
          20                                              Proposed Order Granting Motion for
                                                          Default Judgment and Permanent
          21                                              Injunction filed concurrently herewith]
          22
                                                          Hearing:
          23                                              Date:      July 31, 2018
                                                          Time:      10:00 a.m.
          24                                              Place:     Courtroom 8B, 8th Floor
                                                          Judge:     Hon. Consuelo B. Marshall
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                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
            Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 2 of 27 Page ID #:409


            1    TO THE COURT, THE PARTIES, AND THEIR ATTORNEYS OF RECORD:
            2          PLEASE TAKE NOTICE THAT at 10:00 a.m. on July 31, 2018, or soon
            3    thereafter as counsel may be heard, in the courtroom of the Honorable Consuelo B.
            4    Marshall, located at 350 West 1st Street, Los Angeles, California, Plaintiffs Allergan,
            5    Inc. and Allergan USA, Inc. will and hereby do move for entry of Default Judgment
            6    and a Permanent Injunction against defendant Amazon Medica.
            7          This motion is made on the ground that the defendant is not an infant or
            8    incompetent person, and failed to respond timely and properly to the Complaint, and
            9    on March 19, 2018 the Clerk of this Court entered default against Amazon Medica.
          10     This motion is based on this Notice of Motion and Motion, the accompanying
          11     Memorandum of Points and Authorities in Support of Its Motion for Default Judgment
          12     and Permanent Injunction, and the declaration of Jared Greenberg attached hereto.
          13
          14     Dated: June 21, 2018
          15                                            DEBRA WONG YANG
                                                        JARED GREENBERG
          16                                            GIBSON, DUNN & CRUTCHER LLP
          17
                                                        By:       /s/ Jared Greenberg
          18                                                                 Jared Greenberg
          19                                            Attorneys for Plaintiffs ALLERGAN, INC. and
                                                        ALLERGAN USA, INC.
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Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
            Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 3 of 27 Page ID #:410


            1                                             TABLE OF CONTENTS
            2                                                                                                                             Page
            3    I.    FACTUAL BACKGROUND .............................................................................. 1
            4          A.       Allergan Markets and Manufactures Drugs and Medical Devices ............ 2
            5          B.       Amazon Medica Is an Unlicensed Foreign Criminal Entity That
                                Illegally Advertises, Imports, and Sells Prescription Medicines to
            6                   Unwitting Doctors in the United States ..................................................... 3
            7                   1.       Amazon Medica Masquerades as a Legitimate Business ................ 3
            8                   2.       Amazon Medica Makes False and Misleading Statements to
                                         Deceive Health Care Practitioners into Thinking the Products
            9                            It Sells Are FDA-Approved and Legal ............................................ 4
          10                    3.       Amazon Medica Markets and Advertises Products to Doctors
                                         Within the Central District of California ......................................... 6
          11
                                4.       Amazon Medica Uses Third Parties to Ship Adulterated and
          12                             Misbranded Medical Devices and Drugs to the United States ........ 6
          13                    5.       Amazon Medica Sells Adulterated and Misbranded Medical
                                         Devices and Drugs Outside of the Licensed Supply Chain
          14                             That May Be Dangerous and Are Used on Unsuspecting
                                         Patients ............................................................................................. 7
          15
                 II.   DISCUSSION ....................................................................................................... 9
          16
                       A.       Allergan Has Satisfied Local Rule 55-1 .................................................... 9
          17
                       B.       Ninth Circuit Eitel Factors Strongly Favor Entering Default
          18                    Judgment .................................................................................................... 9
          19                    1.       Possibility of Prejudice to Allergan ............................................... 10
          20                    2.       Substantive Merits and Sufficiency of the Complaint ................... 10
          21                    3.       Amount at Stake............................................................................. 14
          22                    4.       Possibility of Dispute ..................................................................... 15
          23                    5.       Possibility of Excusable Neglect ................................................... 15
          24                    6.       Policy for Deciding Cases on the Merits ....................................... 15
          25                    7.       Conclusion as to the Eitel Factors ................................................. 16
          26           C.       This Court Should Permanently Enjoin Defendant from Future
                                Infringement of Allergan’s Trademarks, Further Acts of Unfair
          27                    Competition, and Further Acts of False or Misleading Advertising........ 16
          28                    1.       A Permanent Injunction Is an Available Equitable Remedy ......... 16

Gibson, Dunn &                                                                i
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
            Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 4 of 27 Page ID #:411

                                                         TABLE OF CONTENTS
            1                                                 (continued)
            2                                                                                                                     Page
            3                   2.       The eBay Test Is Satisfied ............................................................. 18
            4    III.   CONCLUSION .................................................................................................. 20
            5
            6
            7
            8
            9
          10
          11
          12
          13
          14
          15
          16
          17
          18
          19
          20
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          22
          23
          24
          25
          26
          27
          28

Gibson, Dunn &                                                            ii
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
            Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 5 of 27 Page ID #:412


            1                                              TABLE OF AUTHORITIES
            2                                                                                                                            Page(s)
            3    Cases
            4    Amini Innovation Corp. v. KTY Int’l Mktg.,
            5      768 F. Supp. 2d 1049 (C.D. Cal. 2011) .................................................................... 16
            6    AT&T Corp. v. Vision One Sec. Sys.,
            7      No. 95-0565-IEG (BTM), 1995 WL 476251 (S.D. Cal. Jul. 27, 1995) ................... 19

            8    Bd. of Trs. of Sheet Metal Workers v. Moak,
                    No. C 11-4620 CW, 2012 WL 5379565 (N.D. Cal. Oct. 31, 2012)......................... 10
            9
          10     Car-Freshner Corp. v. Valio, LLC,
                   No. 2:14-cv-01471-RFB-GWF, 2016 WL 7246073 (D. Nev. Dec. 15,
          11       2016) ......................................................................................................................... 19
          12     Century 21 Real Estate Corp. v. Sandlin,
          13       846 F.2d 1175 (9th Cir. 1998) .................................................................................. 17
          14     China Cent. Television v. Create New Tech. (Hk) Ltd.,
          15       No. CV 15-01869 MMM AJWX, 2016 WL 6871281 (C.D. Cal. Apr.
                   4, 2016) ..................................................................................................................... 18
          16
                 Craigslist, Inc. v. Naturemarket, Inc.,
          17
                   694 F. Supp. 2d 1039 (N.D. Cal. 2010) .................................................................... 15
          18
                 eBay, Inc. v. MercExchange, LLC,
          19       547 U.S. 388 (2006).................................................................................................. 18
          20
                 Eitel v. McCool,
          21        782 F.2d 1470 (9th Cir. 1986) ........................................................................ 9, 14, 15
          22     Geddes v. United Fin. Grp.,
          23       559 F.2d 557 (9th Cir. 1977) .................................................................................... 10
          24     Internet Specialties W., Inc. v. Milon-DiGiorgio Enters., Inc.,
                    559 F.3d 985 (9th Cir. 2009) .................................................................................... 19
          25
          26     Jackson v. Sturkie,
                    255 F. Supp. 2d 1096 (N.D. Cal. 2003) .................................................................... 17
          27
                 Landstar Ranger, Inc. v. Parth Enters., Inc.,
          28
                   725 F. Supp. 2d 916 (C.D. Cal. 2010) .......................................................... 10, 15, 16
Gibson, Dunn &                                              iii
Crutcher LLP
                   PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                  POINTS AND AUTHORITIES
            Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 6 of 27 Page ID #:413

                                                           TABLE OF AUTHORITIES
            1                                                    (continued)
            2                                                                                                                          Page(s)
            3    Otter Prods., LLC v. Berrios,
            4       No. CV 13-4384-RSWL, 2013 WL 5575070 (C.D. Cal. Oct. 10, 2013) ................. 18

            5    PepsiCo, Inc. v. Cal. Sec. Cans,
                   238 F. Supp. 2d 1172 (C.D. Cal. 2002) .................................................. 10, 14, 15, 16
            6
            7    Reno Air Racing Ass’n. Inc. v. McCord,
                   452 F.3d 1126 (9th Cir. 2006) .................................................................................. 18
            8
                 Stuhlbarg Int’l Sales Co., Inc. v. John D. Brush and Co., Inc.,
            9       240 F.3d 832 (9th Cir. 2001) .................................................................................... 18
          10
                 Wecosign, Inc. v. IFG Holdings, Inc.,
          11       845 F. Supp. 2d 1072 (C.D. Cal. 2012) .............................................................. 15, 19
          12
                 Statutes
          13
                 15 U.S.C. § 1114 ............................................................................................................ 12
          14
                 15 U.S.C. § 1116 ............................................................................................................ 17
          15
          16     15 U.S.C. § 1125 ...................................................................................................... 11, 12

          17     21 U.S.C. § 331 ................................................................................................................ 3
          18     21 U.S.C. § 351 .................................................................................................... 3, 5, 7, 8
          19
                 21 U.S.C. § 352 ................................................................................................................ 5
          20
                 CAL. BUS. & PROF. CODE § 17200 ........................................................................... 12, 13
          21
                 CAL. BUS. & PROF. CODE § 17203 ................................................................................. 17
          22
          23     CAL. BUS. & PROF. CODE § 17500 ................................................................................. 13

          24     CAL. BUS. & PROF. CODE § 17535 ................................................................................. 17
          25     Rules
          26
                 Fed. R. Civ. P. 8 ............................................................................................................. 10
          27
                 Fed. R. Civ. P. 55 ............................................................................................................. 9
          28

Gibson, Dunn &                                                                  iv
Crutcher LLP
                   PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                  POINTS AND AUTHORITIES
            Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 7 of 27 Page ID #:414

                                              TABLE OF AUTHORITIES
            1                                       (continued)
            2                                                                                       Page(s)
            3    Treatises
            4    40 CAL. JUR. 3D INTERFERENCE WITH ECONOMIC ADVANTAGE § 9 ............................... 14
            5
                 40 CAL. JUR. 3D INTERFERENCE WITH ECONOMIC ADVANTAGE § 45 ............................. 17
            6
            7
            8
            9
          10
          11
          12
          13
          14
          15
          16
          17
          18
          19
          20
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Gibson, Dunn &                                               v
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
            Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 8 of 27 Page ID #:415


            1         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
            2      MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION
            3          Plaintiffs Allergan, Inc. and Allergan USA, Inc. (collectively “Allergan”)
            4    respectfully submit this Memorandum of Points and Authorities in support of their
            5    Motion for Default Judgment and Permanent Injunction against defendant Amazon
            6    Medica.
            7          Defendant was served via alternative service per the order of this Court (Dkt.
            8    No. 12) on December 12, 2016 (Dkt. No 15). Defendant failed to answer, plead, or
            9    otherwise respond to the Complaint.
          10           On March 19, 2018, pursuant to Rule 55(a) of the Federal Rules of Civil
          11     Procedure, the Clerk entered the default of Amazon Medica (Dkt. No. 32) for failure to
          12     answer or otherwise defend Allergan’s Complaint for:
          13           (1) false advertising and unfair competition under 15 U.S.C. § 1125;
          14           (2) unfair competition under CAL. BUS. & PROF. CODE § 17200 et seq.;
          15           (3) false advertising under CAL. BUS. & PROF. CODE § 17500 et seq.;
          16           (4) trademark infringement under 15 U.S.C. § 1125; and
          17           (5) California common law tort of intentional interference with prospective
          18     economic advantage.
          19           Pursuant to Rule 55(b)(2), Allergan seeks entry of a default judgment against
          20     Amazon Medica. Allergan also seeks entry of a permanent injunction to prevent
          21     Defendant from further acts of unfair competition, false or misleading advertising,
          22     and/or trademark infringement.
          23                               I.     FACTUAL BACKGROUND
          24           Amazon Medica has caused doctors to inject unlawfully obtained, potentially
          25     unsafe Allergan-branded prescription medicines into unknowing and unsuspecting
          26     patients in the United States. An unlicensed, fly-by-night foreign entity, it illegally
          27     advertises, imports, markets, sells, and distributes unapproved, unauthorized, and
          28     misbranded Allergan-branded prescription medical drugs and devices, including

Gibson, Dunn &                                                1
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
            Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 9 of 27 Page ID #:416


            1    medical devices not approved for use by the United States Food & Drug
            2    Administration (“FDA”).
            3    A.      Allergan Markets and Manufactures Drugs and Medical Devices
            4            Allergan markets a leading portfolio of branded pharmaceuticals, devices and
            5    biologic products for the central nervous system, eye care, medical aesthetics,
            6    dermatology, gastroenterology, women’s health, urology, and anti-infective therapeutic
            7    categories for sale in the United States. See Complaint (Dkt. No. 1), ¶ 12. Among
            8    other products, Allergan has exclusive rights, within the United States, to market
            9    BOTOX®, 1 a drug approved by the FDA to treat several very serious medical
          10     conditions; BOTOX® Cosmetic, the only FDA-approved treatment to temporarily
          11     improve the appearance of both moderate-to-severe frown lines and lateral canthal
          12     lines in adults; and the JUVÉDERM® 2 product line, a collection of hyaluronic acid
          13     fillers that are used to add volume to different areas of the face. Id. Allergan has
          14     exclusive rights to the BOTOX® and JUVÉDERM® trademarks in the United States.
          15     Id. ¶ 21. In its JUVÉDERM® product line, Allergan manufactures JUVÉDERM
          16     VOLUMA® 3 XC and JUVÉDERM VOLBELLA® 4 XC, which are Class III medical
          17     devices approved by the FDA. Id. ¶¶ 22–23. For each of its FDA-approved medical
          18     devices, Allergan received FDA approval after it filed Premarket Approval
          19     applications supported by scientific data demonstrating that the device is safe and
          20     effective. Id. ¶ 21. Allergan also manufactures JUVÉDERM® Ultra 2,
          21     JUVÉDERM® Ultra 3, JUVÉDERM® Ultra 4, and JUVÉDERM® Ultra Smile for
          22     sale only outside the United States. Id. ¶ 24. These medical devices have not received
          23     required Premarket Approval and are not approved by the FDA, and federal law
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                      Registration Nos. 1692384, 1709160, 1814396, 2510673, 2510675, and 3454647.
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                  2
                      Registration Nos. 3463915, 3706974, and 4933963.
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                      Registration No. 4481317.
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                      Registration No. 4380507.
Gibson, Dunn &                                               2
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 10 of 27 Page ID #:417


            1    prohibits the marketing and sale of these products in the United States. Id. ¶¶ 21, 58;
            2    see 21 U.S.C. §§ 331 (prohibiting the introduction of adulterated devices into interstate
            3    commerce), 351(f) (defining as adulterated Class III medical devices which lack
            4    required Premarket Approval).
            5    B.    Amazon Medica Is an Unlicensed Foreign Criminal Entity That Illegally
            6          Advertises, Imports, and Sells Prescription Medicines to Unwitting Doctors
            7          in the United States
            8          Amazon Medica is a website operator with a fraudulent business model that
            9    sacrifices patient safety in pursuit of unearned profits. It acquires Allergan-branded
          10     products from sources in the United Kingdom and illegally diverts them for sale in the
          11     United States. Id. ¶ 31. All of these products bear packaging from the United
          12     Kingdom or other countries, as opposed to packaging, labels and warnings required by
          13     the FDA for sales to United States consumers, and some of the JUVÉDERM®
          14     products it sells to customers in the United States have not been approved for sale in
          15     the United States by the FDA. See id. ¶¶ 35, 44, 55. To hide this fact, it has engaged
          16     in a sophisticated scam which includes concealing its physical and digital locations. It
          17     has also deceived health care practitioners with its mask of legitimacy by advertising
          18     misbranded, adulterated, and potentially dangerous products within the Central District
          19     of California. Id. ¶¶ 52–53. Amazon Medica’s con has been well-planned and
          20     executed, so it is understandable that some reasonable health care practitioners would
          21     fall victim to this elaborate scheme.
          22           1.     Amazon Medica Masquerades as a Legitimate Business
          23           Amazon Medica has taken active steps to alter its digital footprint and to keep its
          24     physical location hidden. To give itself a veneer of legitimacy, Amazon Medica has
          25     purported to have physical office locations in Los Angeles and Singapore, both of
          26     which are shams. Id. ¶¶ 13, 32. In addition to providing false addresses, Amazon
          27     Medica has taken digital steps to mask its physical location. Id. ¶ 33. For instance, its
          28     online IP domain, name servers, original owner, registrant proxy company, IP

Gibson, Dunn &                                               3
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 11 of 27 Page ID #:418


            1    Geolocation, and probable website origin indicate physical locations in different
            2    countries, including Singapore, the Netherlands, New Zealand, the United States,
            3    France, Malaysia, and Luxembourg. Id. Discovery within this action revealed that an
            4    individual named David Wagenleiter, who listed an address in Malaysia, engaged a
            5    privacy services company to help mask Amazon Medica’s digital footprint.5 See
            6    Greenberg Decl. Ex. A.
            7             2.    Amazon Medica Makes False and Misleading Statements to Deceive
            8                   Health Care Practitioners into Thinking the Products It Sells Are
            9                   FDA-Approved and Legal
          10              Amazon Medica’s deceptive marketing campaign was designed to trick United
          11     States health care practitioners into thinking that its business model is legal; that the
          12     products it sells are under warranty, safe, authentic, and FDA-approved; and that its
          13     products are interchangeable with Allergan’s FDA-approved products. See id. ¶¶ 32,
          14     34–51, 78.
          15              Amazon Medica has falsely advertised that all of the products it sells are FDA-
          16     approved when, in fact, several of the JUVÉDERM® products have no such FDA
          17     approval. Id. ¶¶ 35–36. For example, per the FAQ section of Amazon Medica’s
          18     webpage: “All products are guaranteed authentic, FDA approved.” Id. ¶ 35. Further,
          19     its homepage prominently displayed the false statement “FDA Approved Products.”
          20     Id.
          21              Amazon Medica has also made false and misleading statements regarding the
          22     legality of its products and business model in online videos, voicemail, and email. Id.
          23     ¶¶ 41–47. For instance, a professional-quality marketing video on Amazon Medica’s
          24     website falsely claimed that JUVÉDERM® Ultra 3 is lawfully sold in the United
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                       Additional third-party discovery revealed that David Wagenleiter was also listed as
          28           a point of contact for Amazon Medica’s telephone services. See Greenberg Decl.
                       Ex. C.
Gibson, Dunn &                                                 4
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 12 of 27 Page ID #:419


            1    States when, in fact, the sale of the product in the United States is prohibited. Id.
            2    ¶¶ 41, 43.
            3          Further, in emails to potential clients, Amazon Medica has stated that, “[o]ur
            4    business model is legal,” and that “parallel imports”—products imported from another
            5    country without the permission of the intellectual property owner—are legal under
            6    certain circumstances, including that “the product must be FDA approved” and that it
            7    “may not be adulterated or misbranded.” Id. ¶ 48. Amazon Medica fails its own
            8    purported legal standard because many of the products it sells are not FDA-approved,
            9    and all of the products are both adulterated and misbranded. See infra Section I.B.5.
          10           Amazon Medica has also made false and misleading statements claiming to be a
          11     licensed and registered company, when in fact, it is neither a licensed wholesaler nor a
          12     registered business in the United Kingdom. Complaint (Dkt. No. 1), ¶¶ 37–40.
          13           Amazon Medica has also distributed an incorrect and fraudulent legal opinion
          14     concluding that imported BOTOX® would not violate the Food, Drug, and Cosmetic
          15     Act (“FDCA”) if it was identical, manufactured in Allergan’s FDA-approved facility,
          16     and had “not been altered in any way.” Id. ¶¶ 49–51. The BOTOX® Amazon Medica
          17     sells violates the FDCA because it is adulterated and misbranded. Id. ¶ 50; see 21
          18     U.S.C. §§ 351–52. And the purported author of the “legal opinion,” an attorney
          19     located in Chicago, denied representing Amazon Medica and has asked Amazon
          20     Medica to cease distributing the fraudulent document. Complaint (Dkt. No. 1), ¶ 51.
          21           Amazon Medica’s marketing materials also claim that “[t]he visual appearance
          22     of US or UK Allergan Botox packaging is not of primary concern to the FDA,” and
          23     that a physician will be insulated from malpractice claims despite purchasing, selling,
          24     and administering unapproved, misbranded, and adulterated Allergan-branded
          25     products. Id. ¶¶ 44–45. The FDA and the Department of Justice have repeatedly taken
          26     action against physicians administering misbranded and fraudulent BOTOX® from
          27     unlicensed sources. Id. ¶ 45. For example, the FDA has sent thousands of warning
          28     letters for such violations and some physicians have been sentenced to prison. Id.

Gibson, Dunn &                                                5
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 13 of 27 Page ID #:420


            1             3.    Amazon Medica Markets and Advertises Products to Doctors Within
            2                   the Central District of California
            3             Amazon Medica targets United States health care practitioners, including those
            4    located in the Central District of California. Id. ¶¶ 52–53.
            5             For instance, on April 13, 2016, Vincent Marino (of Amazon Medica) sent
            6    Doctor S.T. (of Los Angeles County) a marketing email offering “the possibility of
            7    your practice saving 40% on all your cosmetic injectable and dermal filler purchases.”
            8    Id. ¶ 52. Mr. Marino falsely claimed that Amazon Medica offered “only authentic
            9    product[s],” that the “warranties and insurance policies still apply,” and that Amazon
          10     Medica’s “business model is legal and fully licensed.” Id.
          11              In another example, on April 8, 2016, Vincent Marino sent a similar marketing
          12     email to Dr. T.C. (of Ventura County). Id. ¶ 53. When Dr. T.C. questioned the
          13     legality of Amazon Medica’s business, Mr. Marino explained the business model was
          14     legal and offered to send him the (fraudulent) “legal opinion.” Id.; see supra Section
          15     I.B.2.
          16              4.    Amazon Medica Uses Third Parties to Ship Adulterated and
          17                    Misbranded Medical Devices and Drugs to the United States
          18              Amazon Medica works with third parties to ship unauthorized products into the
          19     United States. A private investigation firm arranged purchases of Allergan-branded
          20     products from Amazon Medica in August 2016 and January 2017. See Collins Decl.
          21     (Dkt. No. 19-3) ¶ 3. With respect to each purchase, the shipping label and customs
          22     declaration identified the sender as a third party: Mudan Pharma Ltd., 24B Creek
          23     Road, London SE8 3BN, United Kingdom. See id. The January 2017 purchase also
          24     included a commercial invoice, which identified the vendor as Mudan Pharma Ltd.,
          25     24B Creek Road, London SE8 3BN, United Kingdom. See id. The credit card
          26     statements of the purchases reflected charges to either Mudan Pharma Ltd., or charges
          27     to Rose Pharmacy, which are operated by the same individuals. Id. The test purchases
          28     were shipped into the United States via Parcelforce. See id. ¶ 4; see Greenberg Decl.

Gibson, Dunn &                                                6
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 14 of 27 Page ID #:421


            1    (Dkt. No. 19-1) Ex. G. Letters of Request issued by this Court demonstrate that since
            2    October 2014, Mudan Pharma Ltd. has sent at least 2,866 packages into the United
            3    States. See Greenberg Decl. Ex. B. It is unknown how many other third parties
            4    support the shipment of Amazon Medica’s unapproved, unauthorized, and misbranded
            5    Allergan-branded prescription medical drugs and devices, but the quantity shipped
            6    from just one third-party partner is significant.
            7          5.     Amazon Medica Sells Adulterated and Misbranded Medical Devices
            8                 and Drugs Outside of the Licensed Supply Chain That May Be
            9                 Dangerous and Are Used on Unsuspecting Patients
          10           Amazon Medica sells misbranded and adulterated medical devices and drugs to
          11     health care practitioners throughout the United States, California, and this District. In
          12     so doing, Amazon Medica is placing patients’ safety at risk. Complaint (Dkt. No. 1),
          13     ¶¶ 54–61. Undoubtedly, patients receiving medical treatment through such products
          14     believe they are receiving safe, effective, authentic, authorized, properly stored, FDA-
          15     approved products—they are not. Id.
          16           The products Amazon Medica sells contain packaging and labels that were not
          17     approved by the FDA. Id. ¶¶ 56–57. Accordingly, these products are misbranded. Id.
          18     Amazon Medica’s own advertising admits these products do not have United States
          19     packaging and labels, but contain packaging developed for another country. Id. ¶ 55.
          20     These misbranded products create confusion among health care practitioners and
          21     increase the risk to patients. For example, BOTOX® packaging in the United
          22     Kingdom does not include the “black box” warning the FDA deemed essential for
          23     patient safety in the United States. Id. ¶¶ 45, 55.
          24           In addition to being misbranded, the medical devices and drugs Amazon Medica
          25     sells are adulterated. Id. ¶¶ 58–61. A Class III medical device is adulterated if it lacks
          26     a required Premarket Approval, which is based on sufficient scientific evidence and
          27     data for the FDA to deem the device safe and effective. Id. ¶ 58; see 21 U.S.C.
          28     § 351(f). Several of the JUVÉDERM® products have not received required Premarket

Gibson, Dunn &                                                7
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 15 of 27 Page ID #:422


            1    Approval and are not FDA-approved. Complaint (Dkt. No. 1), ¶ 58. Thus, these
            2    medical devices are adulterated. Id.
            3          Further, medical devices and drugs are also considered adulterated when they
            4    are not stored and packed in conformity with applicable requirements, or are stored in
            5    a manner that may render them injurious to health. Id. ¶ 59; see 21 U.S.C. § 351(a),
            6    (h). Allergan’s BOTOX® has strict restrictions on storage temperature. Complaint
            7    (Dkt. No. 1), ¶ 59. Allergan goes to great lengths to make certain that, from the time
            8    of manufacture until the time the product reaches its customers, the temperature of
            9    BOTOX® is properly maintained in special, validated, temperature-controlled
          10     containers. Id. Maintaining the temperature is crucial for ensuring that the product is
          11     both safe and effective at the time it is administered to patients. Id.
          12           Although Amazon Medica has claimed it ships products at the proper
          13     temperature, its claims cannot be trusted, as demonstrated herein. Id. ¶ 60; see
          14     generally supra Section I.B. In fact, it makes this very claim within the same sentence
          15     as four other false statements: “All products are guaranteed authentic, FDA approved,
          16     and shipped at the appropriate temperature, can be verified by the client and with
          17     Allergan Pharmaceuticals Ireland.” Complaint (Dkt. No. 1), ¶ 60. Not one of these
          18     claims is true. Id. There is no evidence that Amazon Medica properly ships Allergan-
          19     branded products, and Allergan has never validated Amazon Medica’s storage and
          20     shipping configurations. Id. Accordingly, these products are adulterated and are a risk
          21     to patient safety. Id.
          22           As a result of Defendant’s illegal conduct, Allergan has suffered, suffers, and
          23     will continue to suffer irreparable harm to its reputation, business, and goodwill. Id.
          24     ¶ 61. Further, Defendant’s illegal operations pose a significant risk to thousands of
          25     unsuspecting patients and, accordingly, to Allergan itself. Id.
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Gibson, Dunn &                                                8
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 16 of 27 Page ID #:423


            1                                       II.    DISCUSSION
            2    A.    Allergan Has Satisfied Local Rule 55-1
            3          Local Rule 55-1 for the Central District of California requires that an application
            4    to the Court for a default judgment be accompanied by a declaration of compliance
            5    with Fed. R. Civ. P. 55(b). Allergan has satisfied the statutory requirements by
            6    accompanying its Motion with a sworn declaration of compliance with Fed. R. Civ. P.
            7    55(b)(2) stating that (a) On March 19, 2018, pursuant to Rule 55(a) of the Federal
            8    Rules of Civil Procedure, the Clerk of Court entered the default of Amazon Medica
            9    (Dkt. No. 32); (b) the default was entered for Amazon Medica’s failure to plead or
          10     otherwise defend Allergan’s Complaint; (c) on information and belief, Amazon
          11     Medica is not an infant or incompetent person; (d) on information and belief, the
          12     Servicemembers Civil Relief Act (50 U.S.C. App. § 521) does not apply; and (e) Rule
          13     55(b)(2) does not require that notice be served on Amazon Medica because it never
          14     appeared personally or by representative. See Greenberg Decl. ¶ 5. Thus, Allergan
          15     has satisfied Local Rule 55-1.
          16     B.    Ninth Circuit Eitel Factors Strongly Favor Entering Default Judgment
          17           Under Fed. R. Civ. P. 55, the entry of a default judgment is a two-part process.
          18     First, when a defendant fails to plead or otherwise defend, the Clerk must enter the
          19     defendant’s default. Fed. R. Civ. P. 55(a).
          20           Second, the plaintiff may apply to the court for a default judgment, which the
          21     Court has the discretion to grant or deny. In the Ninth Circuit, a district court must
          22     examine the following factors on a motion for default judgment: “(1) the possibility of
          23     prejudice to the plaintiff, (2) the merits of the plaintiff’s substantive claim, (3) the
          24     sufficiency of the complaint, (4) the sum of money at stake in the action[,] (5) the
          25     possibility of a dispute concerning material facts[,] (6) whether the default was due to
          26     excusable neglect, and (7) the strong policy underlying the Federal Rules of Civil
          27     Procedure favoring decisions on the merits.” Eitel v. McCool, 782 F.2d 1470, 1471–72
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Gibson, Dunn &                                                 9
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 17 of 27 Page ID #:424


            1    (9th Cir. 1986) (citations omitted). Here, the enumerated factors weigh heavily in
            2    favor of granting default judgment.
            3            1.    Possibility of Prejudice to Allergan
            4            “The first Eitel factor considers whether a plaintiff will suffer prejudice if a
            5    default judgment is not entered.” Landstar Ranger, Inc. v. Parth Enters., Inc., 725 F.
            6    Supp. 2d 916, 920 (C.D. Cal. 2010) (citation omitted). If denying default judgment
            7    would leave a plaintiff without a proper remedy, prejudice can be shown. Id. Here,
            8    Allergan would suffer prejudice if the default judgment were not entered because
            9    Allergan would be without any other recourse for recovery.
          10             2.    Substantive Merits and Sufficiency of the Complaint
          11             The next two Eitel factors require Allergan to have “state[d] a claim on which
          12     [it] may recover” and examine Allergan’s likelihood of success on the merits.
          13     PepsiCo, Inc. v. Cal. Sec. Cans, 238 F. Supp. 2d 1172, 1175–76 (C.D. Cal. 2002)
          14     (citation omitted) (conducting an analysis of the merits and sufficiency of plaintiff’s
          15     unfair competition, dilution, false advertising, and trademark claims).
          16             “In considering the sufficiency of the complaint and the merits of the plaintiff’s
          17     substantive claims, facts alleged in the complaint not relating to damages are deemed
          18     to be true upon default.” Bd. of Trs. of Sheet Metal Workers v. Moak, No. C 11-4620
          19     CW, 2012 WL 5379565, at *2 (N.D. Cal. Oct. 31, 2012) (citing Geddes v. United Fin.
          20     Grp., 559 F.2d 557, 560 (9th Cir. 1977); Fed. R. Civ. P. 8(d)). Amazon Medica has
          21     defaulted, and Allergan’s Complaint alleges facts which, taken as true, provide a
          22     sufficient legal basis for entry of a default judgment, as it properly alleges the
          23     necessary elements for each cause of action. Below is an analysis of each claim in
          24     turn.
          25                   a.     False Advertising and Unfair Competition under Lanham Act
          26                          § 43(a), 15 U.S.C. § 1125
          27             Section 43(a) of the Lanham Act prohibits the “use[] in commerce [of] any . . .
          28     false or misleading description of fact, or false or misleading representation of fact,

Gibson, Dunn &                                                 10
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 18 of 27 Page ID #:425


            1    which . . . misrepresents the nature, characteristics, qualities, or geographic origin of
            2    his or her or another person’s goods, services, or commercial activities.” 15 U.S.C.
            3    § 1125(a)(1).
            4          Specifically, but not exclusively:
            5          i      Amazon Medica misleads customers and falsely advertises that the
            6                 Allergan-branded products it sells are FDA-approved (see supra Section
            7                 I.B);
            8          ii     Amazon Medica misleads customers, through false advertising and a
            9                 fraudulent “legal opinion,” into believing its business model is legitimate
          10                  and it follows United States laws and regulations (id.);
          11           iii    Amazon Medica misleads customers into believing its business has the
          12                  appropriate licenses that would provide oversight to ensure patient safety
          13                  (id.);
          14           iv     Amazon Medica misleads customers into believing that the Allergan-
          15                  branded products it sells are safe and not adulterated (id.);
          16           v      Amazon Medica misleads and creates confusion among health care
          17                  practitioners by providing mislabeled Allergan-branded products (id.);
          18           vi     Amazon Medica misleads customers into believing that the Allergan-
          19                  branded products it sells are under warranty (id.); and
          20           vii    Amazon Medica misleads customers as to its physical location by
          21                  providing phony office addresses in California and Singapore. Id.
          22           These statements are false and misleading and misrepresent the nature,
          23     characteristics, qualities, and/or geographic origin of Allergan’s products. Id. Thus, in
          24     its marketing, advertising, importing, distributing, and selling of non-FDA-approved
          25     Allergan-branded products—and unauthorized Allergan-branded products—Amazon
          26     Medica has engaged in, and continues to engage in, false advertising and unfair
          27     competition in violation of Section 43(a) of the Lanham Act.
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Gibson, Dunn &                                               11
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 19 of 27 Page ID #:426


            1                 b.    Trademark Infringement under Lanham Act § 43(a), 15 U.S.C.
            2                       §§ 1114, 1125
            3           The Lanham Act also prohibits trademark infringement through the sale of
            4    products that are materially different from the genuine products for sale in the United
            5    States. See 15 U.S.C. §§ 1114, 1125. Amazon Medica sells Allergan-branded
            6    products that are manufactured overseas, bear a valid United States trademark, and are
            7    imported without the consent of the United States trademark holder (Allergan). The
            8    Allergan-branded products Amazon Medica imports into the United States are
            9    materially different due to the improper labeling, packaging, marketing, and quality
          10     control methods, such as proper storage and shipping temperatures. See supra Section
          11     I.B.
          12            These materially different medical devices and drugs have the potential to cause
          13     confusion among United States health care providers and patients who believe they
          14     have received, or will receive, genuine authorized Allergan-branded products, and to
          15     cause significant patient harm. Because these products are materially different from
          16     the genuine products for sale in the United States, they constitute trademark
          17     infringement under Section 43(a) of the Lanham Act.
          18                  c.    Unfair Competition under CAL. BUS. & PROF. CODE § 17200
          19                        et seq.
          20            California’s Unfair Competition Law (“UCL”) prohibits “any unlawful, unfair
          21     or fraudulent business act or practice and unfair, deceptive, untrue or misleading
          22     advertising.” CAL. BUS. & PROF. CODE § 17200.
          23            Defendant’s unlawful actions include violations of California statutory law.
          24     Specifically, but not exclusively, these unlawful actions are:
          25            i     selling unapproved medical devices (see supra Section I.B);
          26            ii    selling misbranded drugs and medical devices (id.);
          27            iii   selling adulterated drugs and medical devices (id.);
          28            iv    false and misleading advertising of drugs and medical devices (id.);

Gibson, Dunn &                                              12
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 20 of 27 Page ID #:427


            1           v     advertising adulterated drugs and medical devices (id.);
            2           vi    advertising misbranded drugs and devices (id.); and
            3           vii   selling drugs and devices outside of the licensed supply chain (id.).
            4           In its marketing, importing, distributing, and selling of non-FDA-approved
            5    Allergan-branded products and unauthorized Allergan-branded products, Amazon
            6    Medica has engaged in, and continues to engage in, unlawful, unfair, and/or fraudulent
            7    business acts, as well as unfair, deceptive, untrue, or misleading advertising in
            8    violation of the UCL. See CAL. BUS. & PROF. CODE § 17200 et seq.; see supra Section
            9    I.B.
          10                  d.     False Advertising under CAL. BUS. & PROF. CODE § 17500
          11                         et seq.
          12            The UCL also prohibits “untrue or misleading” advertising, “including over the
          13     internet.” CAL. BUS. & PROF. CODE § 17500 et seq. In its marketing and advertising of
          14     non-FDA-approved Allergan-branded products and unauthorized Allergan-branded
          15     products, Amazon Medica has engaged in, and continues to engage in, untrue or
          16     misleading advertising. Amazon Medica’s advertising is false or misleading because it
          17     advertises that the products it sells are FDA-approved, safe, not adulterated, under
          18     warranty, and properly shipped and stored; that it follows laws and regulations; that its
          19     business model is legal; that it has the appropriate licenses; and that it has an office
          20     located at 50 Raffles Place, #30.00 Singapore Land Tower, 048623, Singapore, and a
          21     satellite office located at 445 S. Figueroa Street, Los Angeles, California. See supra
          22     Section I.B. All of these claims are false or misleading, and none of them are true.
          23                  e.     California Common Law Tort of Intentional Interference with
          24                         Prospective Economic Advantage
          25            In California, “the elements of the tort of intentional interference with
          26     prospective economic advantage are [1] an economic relationship between the plaintiff
          27     and some third party, with the probability of future economic benefit to the plaintiff;
          28     [2] the defendant’s knowledge of the existence of the relationship; [3] the defendant’s

Gibson, Dunn &                                               13
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 21 of 27 Page ID #:428


            1    intentional acts designed to disrupt the relationship; [4] actual disruption of the
            2    relationship; and [5] economic harm to the plaintiff proximately caused by the
            3    defendant’s acts.” 40 CAL. JUR. 3D INTERFERENCE WITH ECONOMIC ADVANTAGE § 9
            4    (footnote omitted).
            5          Amazon Medica has intentionally diverted business from Allergan by improper
            6    means not within the boundaries of fair competition. See supra Sections I.B, II.B.2.a–
            7    II.B.2.d. Through false and misleading advertising, Defendant convinced some health
            8    care practitioners that the products Amazon Medica sells are FDA-approved, safe,
            9    effective, legal and interchangeable with authorized Allergan-branded products. See
          10     supra Section I.B. Amazon Medica knew that these were prospective Allergan
          11     customers and intended to capitalize on this prospective business relationship.
          12     Accordingly, some health care practitioners bought products from Amazon Medica
          13     rather than Allergan, causing economic harm to Allergan.
          14                  f.       Conclusion as to the Second and Third Eitel Factors
          15           Thus, taking the facts in Allergan’s Complaint as true, Amazon Medica’s illicit
          16     operations violate the above federal and state laws due to its advertising, false
          17     advertising, importing, selling, and distributing of unapproved, unauthorized,
          18     adulterated, and/or misbranded Allergan-branded products. Thus, there is a sufficient
          19     legal basis for entry of a default judgment, and the second and third Eitel factors weigh
          20     in favor of entering default judgment.
          21           3.     Amount at Stake
          22           For the fourth Eitel factor, the Court balances “the amount of money at stake in
          23     relation to the seriousness of the [defaulting party’s] conduct.” PepsiCo Inc., 238 F.
          24     Supp. 2d at 1176; see Eitel, 782 F.2d at 1471–72. Allergan seeks only non-monetary
          25     damages in the form of injunctive relief. Thus, there is no money at stake in this
          26     Motion. Non-monetary damages favor granting a default judgment, PepsiCo, 238 F.
          27     Supp. 2d at 1177, so the fourth Eitel factor weighs in favor of Allergan.
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Gibson, Dunn &                                               14
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 22 of 27 Page ID #:429


            1          4.     Possibility of Dispute
            2          For the fifth Eitel factor, the Court considers the possibility that material facts
            3    would be disputed. Id.; see also Eitel, 782 F.2d at 1471–72. “Where a plaintiff has
            4    filed a well-pleaded complaint, the possibility of dispute concerning material facts is
            5    remote.” Wecosign, Inc. v. IFG Holdings, Inc., 845 F. Supp. 2d 1072, 1082 (C.D. Cal.
            6    2012) (citing Landstar Ranger, 725 F. Supp. 2d at 921–22 (“Since [plaintiff] has
            7    supported its claims with ample evidence, and defendant has made no attempt to
            8    challenge the accuracy of the allegations in the complaint, no factual disputes exist that
            9    preclude the entry of default judgment.”)). As explained in Section II.B.2, Allergan
          10     adequately alleges its claims for unfair competition, false or misleading advertising,
          11     and trademark infringement. Thus, a dispute concerning the material facts as to these
          12     claims is unlikely and the fifth Eitel factor weighs in favor of Allergan.
          13           5.     Possibility of Excusable Neglect
          14           “The sixth Eitel factor considers whether defendant’s default may have been the
          15     product of excusable neglect.” Landstar Ranger, 725 F. Supp. 2d at 922 (citations
          16     omitted). On November 23, 2016, Allergan filed a Motion for Alternative Service to
          17     permit the Complaint and other case-related documents to be served on four known
          18     Amazon Medica email addresses (Dkt. No. 12), and on December 12, 2016, the Court
          19     granted this motion (Dkt. No. 15). Amazon Medica was properly served (Dkt. No. 19-
          20     9) and failed to answer, plead, or otherwise respond to the Complaint (Dkt. No. 1).
          21     The possibility of Amazon Medica’s excusable neglect is therefore unlikely, and the
          22     sixth Eitel factor weighs in favor of entering default judgment.
          23           6.     Policy for Deciding Cases on the Merits
          24           “The final Eitel factor examines whether the strong policy favoring deciding
          25     cases on the merits prevents a court from entering default judgment.” Craigslist, Inc. v.
          26     Naturemarket, Inc., 694 F. Supp. 2d 1039, 1061 (N.D. Cal. 2010) (citation omitted).
          27     Although “[c]ases should be decided upon their merits whenever reasonably possible,”
          28     Eitel, 782 F.2d at 1472 (citation omitted), “Rule 55(a) allows a court to decide a case

Gibson, Dunn &                                               15
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 23 of 27 Page ID #:430


            1    before the merits are heard if defendant fails to appear and defend.” Landstar Ranger,
            2    725 F. Supp. 2d at 922 (citing PepsiCo, 238 F. Supp. 2d at 1177 (“Defendant’s failure
            3    to answer plaintiff’s complaint makes a decision on the merits impractical, if not
            4    impossible.”)). Here, Amazon Medica has failed to appear and respond. Thus, the
            5    strong policy favoring deciding cases on the merits does not prevent the Court from
            6    entering a default judgment here.
            7            7.    Conclusion as to the Eitel Factors
            8            In sum, the Eitel factors weigh heavily in favor of the entry of default judgment
            9    as to Allergan’s claims for unfair competition, false or misleading advertising, and
          10     trademark infringement.
          11     C.      This Court Should Permanently Enjoin Defendant from Future
          12             Infringement of Allergan’s Trademarks, Further Acts of Unfair
          13             Competition, and Further Acts of False or Misleading Advertising
          14             Allergan is entitled to a permanent injunction to prevent Amazon Medica from
          15     future infringement of Allergan’s trademarks, further acts of unfair competition, and
          16     further acts of false or misleading advertising.
          17             Specifically, Allergan seeks a permanent injunction barring Amazon Medica
          18     from:
          19             1) further use of Allergan’s trademarks (or any reproduction, counterfeit, copy,
          20     or colorable imitation of Allergan’s trademarks) on products that are materially
          21     different from the genuine Allergan products for sale in the United States; and from
          22             2) advertising, importing, marketing, selling, or distributing unapproved,
          23     unauthorized, or misbranded Allergan-branded prescription medical drugs and devices
          24     in the United States.
          25             1.    A Permanent Injunction Is an Available Equitable Remedy
          26             Injunctive relief is an appropriate remedy in a default judgment. See Amini
          27     Innovation Corp. v. KTY Int’l Mktg., 768 F. Supp. 2d 1049, 1057 (C.D. Cal. 2011)
          28     (“Because Defendant has failed to respond to the Complaint, it is not possible to

Gibson, Dunn &                                               16
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 24 of 27 Page ID #:431


            1    determine with certainty whether Defendant is continuing to sell the infringing
            2    products . . . without the Court’s issuance of an injunction, the continued sale . . . will
            3    result in lost sales to [plaintiff] and would damage the goodwill in which [plaintiff] has
            4    greatly invested.”); see also Jackson v. Sturkie, 255 F. Supp. 2d 1096, 1103 (N.D. Cal.
            5    2003) (“[D]efendant’s lack of participation in this litigation has given the court no
            6    assurance that defendant’s infringing activity will cease. Therefore, plaintiff is entitled
            7    to permanent injunctive relief.”).
            8          The Lanham Act allows the issuance of a permanent injunction barring the
            9    violation of any right of a trademark holder registered in the Patent and Trademark
          10     Office. 15 U.S.C. § 1116(a). Indeed, “[i]njunctive relief is the remedy of choice for
          11     trademark and unfair competition cases, since there is no adequate remedy at law for
          12     the injury caused by a defendant’s continuing infringement.” Century 21 Real Estate
          13     Corp. v. Sandlin, 846 F.2d 1175, 1180 (9th Cir. 1998). Allergan’s registered
          14     trademarks include BOTOX® — Registration Nos. 1692384, 1709160, 1814396,
          15     2510673, 2510675, and 3454647; JUVÉDERM® — Registration Nos. 3463915,
          16     3706974, and 4933963; JUVÉDERM VOLUMA® — Registration No. 4481317; and
          17     JUVÉDERM VOLBELLA® — Registration No. 4380507.
          18           In addition, the California Business & Professions Code states that “[a]ny person
          19     who engages, has engaged, or proposes to engage in unfair competition may be
          20     enjoined” from doing so. CAL. BUS. & PROF. CODE § 17203. Further, “[a]ny person,
          21     corporation, firm, partnership, joint stock company, or any other association or
          22     organization which violates or proposes to violate” Sections 17500–06 of the Code
          23     “may be enjoined” from doing so. Id. § 17535. Under the California common law,
          24     injunctive relief is also an available remedy for unjustified interference with
          25     contractual relations. See 40 CAL. JUR. 3D INTERFERENCE WITH ECONOMIC
          26     ADVANTAGE § 45 (citations omitted).
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          28

Gibson, Dunn &                                                17
Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 25 of 27 Page ID #:432


            1          2.     The eBay Test Is Satisfied
            2          A Court may grant a permanent injunction if the plaintiff satisfies a four-factor
            3    test. eBay, Inc. v. MercExchange, LLC, 547 U.S. 388, 392–93 (2006); see also China
            4    Cent. Television v. Create New Tech. (Hk) Ltd., No. CV 15-01869 MMM AJWX, 2016
            5    WL 6871281, at *7 (C.D. Cal. Apr. 4, 2016) (citing Reno Air Racing Ass’n. Inc. v.
            6    McCord, 452 F.3d 1126, 1137–38 (9th Cir. 2006) (applying “traditional equitable
            7    principles” under eBay in deciding whether entry of a permanent injunction in a
            8    trademark case was appropriate)).
            9          Specifically, a plaintiff seeking a permanent injunction “must demonstrate:
          10     (1) that it has suffered an irreparable injury;” (2) that there is no adequate remedy at
          11     law; (3) “that, considering the balance of hardships between the plaintiff and
          12     defendant, a remedy in equity is warranted; and (4) that the public interest would not
          13     be disserved by a permanent injunction.” eBay, 547 U.S. at 391. Allergan has
          14     satisfied each of these factors.
          15                  a.     Irreparable Injury
          16           “[W]hen a plaintiff establishes in a trademark infringement or unfair
          17     competition action a likelihood of confusion, it is generally presumed that the plaintiff
          18     will suffer irreparable harm if an injunction is not granted.” Otter Prods., LLC v.
          19     Berrios, No. CV 13-4384-RSWL (AGRX), 2013 WL 5575070, at *11 (C.D. Cal. Oct.
          20     10, 2013) (citations omitted). Furthermore, “[e]vidence of threatened loss of
          21     prospective customers or goodwill certainly supports a finding of the possibility of
          22     irreparable harm.” Stuhlbarg Int'l Sales Co., Inc. v. John D. Brush and Co., Inc., 240
          23     F.3d 832, 841 (9th Cir. 2001) (citation omitted).
          24           As discussed above, Allergan’s Complaint demonstrates a likelihood of
          25     confusion as to the origin of the unapproved, unauthorized, adulterated, and
          26     misbranded Allergan-branded products sold by Amazon Medica. Furthermore,
          27     Allergan has suffered, suffers, and will continue to suffer irreparable harm to its
          28     reputation, business, and goodwill because of Amazon Medica’s illegal operations.

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                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 26 of 27 Page ID #:433


            1                 b.    Availability of Remedy at Law
            2          “Damage to reputation and loss of customers are intangible harms not
            3    adequately compensable through monetary damages.” Car-Freshner Corp. v. Valio,
            4    LLC, No. 2:14-cv-01471-RFB-GWF, 2016 WL 7246073, at *8 (D. Nev. Dec. 15,
            5    2016). Unless enjoined, Amazon Medica will continue to market, advertise, import,
            6    distribute, and sell unapproved, unauthorized, adulterated, and misbranded Allergan-
            7    branded products. This will create consumer confusion and harm Allergan’s
            8    reputation, business, and goodwill. See Wecosign, Inc., 845 F. Supp. 2d at 1084 (“[I]f
            9    an injunction were not granted, plaintiff would suffer irreparable injury from the
          10     ongoing damages to its goodwill and diversion of customers.”).
          11                  c.    Balance of Hardships
          12           Furthermore, “the balance of hardships favors Plaintiff because without an
          13     injunction, Plaintiff will lose [customers,] profits and goodwill, while an injunction
          14     will only proscribe Defendant’s infringing activities.” See id. There is no indication
          15     that Amazon Medica will suffer hardship if a permanent injunction is entered, as it can
          16     continue its business without use of unapproved, unauthorized, adulterated, and
          17     misbranded Allergan-branded products; and without marketing, advertising, importing,
          18     distributing, and selling of non-FDA-approved Allergan-branded products and/or
          19     unauthorized Allergan-branded products.
          20                  d.    Public Interest
          21           Finally, an injunction in this case is in the interest of the public because “[t]he
          22     public has an interest in avoiding confusion between two companies’ products.”
          23     Internet Specialties W., Inc. v. Milon-DiGiorgio Enters., Inc., 559 F.3d 985, 993 n.5
          24     (9th Cir. 2009). “Where defendant’s concurrent use of plaintiff’s trademark without
          25     authorization is likely to cause confusion, the public interest is damaged by the
          26     defendant’s use.” AT&T Corp. v. Vision One Sec. Sys., No. 95-0565-IEG (BTM), 1995
          27     WL 476251, at *7 (S.D. Cal. Jul. 27, 1995). Unless enjoined, Amazon Medica will
          28     continue to infringe Allergan’s trademarks and to market, advertise, import, distribute,

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Crutcher LLP
                  PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                 POINTS AND AUTHORITIES
           Case 2:16-cv-08403-CBM-SS Document 33 Filed 06/21/18 Page 27 of 27 Page ID #:434


            1    and sell unapproved, unauthorized, adulterated, and misbranded Allergan-branded
            2    products. This is likely to cause consumer confusion, which is against the public
            3    interest.
            4             Therefore, Allergan satisfies the eBay test and has met the statutory and
            5    equitable requirements for permanent injunctive relief.
            6                                       III.   CONCLUSION
            7             For the foregoing reasons, Plaintiff Allergan respectfully requests the Court
            8    grant its motion for entry of default judgment in its favor against defendant Amazon
            9    Medica and enter a permanent injunction against Amazon Medica restraining it from
          10     engaging in further acts of unfair competition, false or misleading advertising, and
          11     infringement or dilution of Allergan’s trademarks, and restraining third parties from
          12     assisting, aiding, or abetting Amazon Medica’s illegal activities.
          13
          14     Dated: June 21, 2018
          15                                               DEBRA WONG YANG
                                                           JARED GREENBERG
          16                                               GIBSON, DUNN & CRUTCHER LLP
          17
                                                           By:        /s/ Jared Greenberg
          18                                                                     Jared Greenberg
          19                                               Attorneys for Plaintiffs ALLERGAN, INC. and
                                                           ALLERGAN USA, INC.
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                   PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AND PERMANENT INJUNCTION; MEMORANDUM OF
                                                  POINTS AND AUTHORITIES
